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                                               UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION



                 IN RE: FACEBOOK, INC. CONSUMER                        CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
                                                                       DECLARATION OF MICHAEL DUFFEY
                                                                       IN SUPPORT OF DEFENDANT
                 This document relates to:                             FACEBOOK, INC.'S MOTION TO
                                                                       DISMISS PLAINTIFFS' CONSOLIDATED
                 ALL ACTIONS                                           COMPLAINT

                                                                       Judge: Hon. Vince Chhabria
                                                                       Courtroom 4, 17th Floor
                                                                       Hearing Date: January 23, 2019
                                                                       Hearing Time: 10:30 a.m.




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Crutcher LLP
                             DECLARATION OF MICHAEL DUFFEY IN SUPPORT OFFACEBOOK, INC.' S MOTION TO DISMISS
                                   PLAINTIFFS' CONSOLIDATED COMPLAINT- CASE NO. 3: l 8-MD-02843-VC
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